UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
CASE NO.: 24-1014
RETURN OF SERVICE
Arpad Madarsz
VS.

Laboratory Corporation Of
America Holdings, et al.

ss.
I, Gerard C. Menichini, a competent adult, being duly sworn according to law, depose and say that at 10:25am on
03/15/2024, [ served Laboratory Drug Development Inc. ¢/o CSC at 251 Little Falls Drive, Wilmington, DE
19808 in the manner described below:
L_] Defendant(s) personally served.

Adult family member with whom said Defendant(s) reside(s).
Relationship is .

LJ Adult in charge of Defendant(s) residence who refused to give name and/or relationship.
L_]Manager/Clerk of place of lodging in which Defendant(s) reside(s).

Agent or person in charge of Defendant's office or usual place of business.

LJ an officer of said Defendant's company.
p
fy) Other: By serving the registered agent, CSC in accordance to their required procedure. By entering the
service documents into their portal and placing them in the basket

a true and correct copy of SUMMONS AND COMPLAINT issued in the above captioned matter.

C. Menichini - Cert/Appt#: None
Best Leyal Services, Inc.

1617 JoYn F. Kennedy Blvd. Suite 805
Philadglphia, PA 19103

Law Firm: CONSOLE MATTIACCI LAW

Attorney: CAREN N. GURMANKIN, ESQUIRE

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